         Case 2:10-md-02179-CJB-DPC Document 3788-12 Filed 08/22/11 Page 1 of 2


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         R. Chris Heck
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                                                          July 21,2011

      BY ELECTRONIC MAIL
      AND FIRST CLASS MAIL

      Carter L. Williams
      Sutherland Asbill & Brennan LLP
      1001 Fannin Street, Suite 3700
      Houston, TX 77002

                          Re:         Internal Investigation Documents Over Which Transocean Claims Work
                                      Product Privilege in In Re: Oil Spill by the Oil Rig "Deepwater Horizon"
                                      in the GulfofMexico, on April 20, 2010, MDL No. 2179
      Dear Carter:

              Your July 20, 2011 letter regarding Transocean's work product privilege claims over
      documents relating to Transocean's internal investigation leaves open a number of issues. First,
      you state that "a revised privilege log that asserts narrowly defined claims of work product where
      appropriate" is "forthcoming," but do not say when. As you know, depositions of Transocean's
      internal investigation team members are ongoing, and the deposition of team leader Billy
      Ambrose already has occurred. Moreover, BP needs the documents related to Transocean's
      internal investigation for BP's own expert work. Given that time is of the essence, we will ask
      Judge Shushan at tomorrow's conference to set an appropriate schedule for Transocean to serve a
      revised privilege log.

              Second, you state that Transocean has produced 16 of the documents listed on its
      privilege log. As indicated in my July 6 letter, Transocean has claimed work product protection
      over several hundred documents related to its internal investigation. Thus, the vast majority of
      the documents in question have not yet been produced. Because of BP's need for these
      documents, we will ask Judge Shushan to set an appropriate deadline for production of the
      internal investigation· documents listed on Transocean's privilege log over which Transocean is
      no longer claiming work product privilege.

              Third, neither your July 15 or July 20 letters discusses the fact that for many entries
      Transocean's privilege log lists only "DWH Investigation Team" as the author, without
      identifying the actual individuals who created or received the documents or whether any of such
      individuals are attorneys. Please confirm that your revised privilege log will identify the
      individuals who authored and received each document instead of using "DWH Investigation
      Team."


Hong Kong      London          Los Angeles   Munich     New York       Palo Alto   San Francisco   Shanghai        Washington. D.C.
  Case 2:10-md-02179-CJB-DPC Document 3788-12 Filed 08/22/11 Page 2 of 2



                                  KIRKLAND &.. ELLIS LLP


Carter L. Williams
July 21,2011
Page 2


        Fourth, BP did not know until your July 20 letter that Transocean has now agreed to
produce certain documents listed on its privilege log. Your July 15 letter did not state that
Transocean would produce documents on its privilege log. Moreover, your July 20 letter implies
that BP bears the burden of searching through Transocean's recent productions to determine if
Transocean has decided to produce documents listed on its privilege log. This is not BP's
responsibility. Nor would it be possible given that one cannot determine from Transocean's
privilege log or your correspondence whether it has produced documents listed on that log. Such
a process also would not be feasible given that Transocean has chosen to wait until the last few
weeks to produce the substantial majority of its documents. Instead, Transocean has the
responsibility under the Federal Rules of Civil Procedure to produce responsive documents as
well as an accurate and sufficiently detailed privilege log.

        Fifth, separate from the issues with Transocean's attempt to claim the work product
privilege over internal investigation documents, I received your July 20 letter concerning my
July 13 letter regarding Transocean's objections and responses to the BP Parties' First and
Second Requests for Production of Documents. Please confirm that you will send a letter
substantively responding to my July 13 letter by July 27.

                                                   Sincerely,

                                                  ~,~~
                                                   R. Chris Heck
cc:    Richard C. Godfrey, P.C.
       Andrew Langan, P.C.
       Barry E. Fields, P.e.
       Don K. Haycraft
       Steven L. Roberts
       Kerry J. Miller
